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Cont’d
with a psychological evaluation and risk assessment in which examining psychologist opines “to
a reasonable degree of scientific certainty that Mr. Laboursoliere’s likelihood for committing an
offense and the risk he presents to the community are remarkably and acceptably low.”1
Among the factors to be considered by the court in determining whether there are conditions of
release that will reasonably assure the safety of a person or the community are the nature and
circumstances of the offense charged, including whether the offense involves a firearm or an
explosive or destructive device, and the nature and seriousness of the danger to any person or the
community that would be posed by the defendant’s release. 18 U.S.C. § 3142(g)(1), (4). In the
court’s view, the conclusions in the risk evaluation ignore that the defendant did not offer a
credible explanation for the huge hoard of ammunition he stockpiled or any explanation for
having firearms with large capacity feeding devices in his vehicle or for possessing what looked
like the container for a pipe bomb. Given the circumstances of the offense charged and the
nature of the risk to the public at the time of the defendant’s arrest, the court finds that the
government has shown by clear and convincing evidence that there are no conditions of
supervised release that would adequately ensure the safety of the community if the defendant
were released pending trial. His depression and anger have not abated. He is a skilled machine
operator capable of manufacturing dangerous devices. Even vigilant supervision cannot prevent
access to the internet, which is how the defendant obtained the ingredients for explosive devices.
For the foregoing reasons, the court concludes that the defendant should be detained pending
trial.




                                                            
1
 The defendant provided copies of the psychological evaluation and risk assessment to the court
and the government but the document was not offered as an exhibit at the hearing. The court has
designated the evaluation as exhibit 5, filed under seal.
